                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
______________________________________________________________________________
LETITIA HOLLOWAY,

       Plaintiff,

v.                                                            Case No. 2:24-cv-00134-BHL

JONATHAN MEJIAS-RIVERA,
LISA SAFFOLD, and CITY OF MILWAUKEE                           JURY TRIAL DEMANDED
(Previously listed incorrectly as City of
Milwaukee Police Department)

      Defendants.
______________________________________________________________________________

                           AMENDED COMPLAINT
______________________________________________________________________________

       NOW COMES the Plaintiff Letitia Holloway, by and through her counsel, and for her

Amended Complaint against the above-named Defendants, alleges the following:

                                JURISDICTION AND VENUE

       1.      This action is brought under three federal statutes, Title VII of the Civil Rights

Act, 42 U.S.C. § 2000e, et seq., 42 U.S.C. § 1981 and § 1983 of the Rehabilitation Act.

Accordingly, jurisdiction is conferred by 28 U.S.C. § 1331.

       2.      Venue is proper because the acts complained of all occurred in this district.

                                         THE PARTIES

       3.      Plaintiff Letitia Holloway (“Plaintiff” or “Holloway”) is a Detective with the City

of Milwaukee’s Police Department (“Police Department”). Her employment began in June 2014.

She resides at 8567 W. Grantosa Drive, Milwaukee, WI 53225. She is a citizen of the State of

Wisconsin.
       4.       The City of Milwaukee is a defendant in this action as an indemnitor to Jonathan

Mejias-Rivera and Lisa Saffold, and as Holloway’s employer. The City of Milwaukee’s principal

place of business is City Hall, 200 E. Wells Street, Milwaukee, WI 53202.

       5.       Defendant Jonathan Mejias-Rivera is a Sergeant with the Milwaukee Police

Department. He resides at 5034 Spruce Court, Greendale, WI 53129 and is a citizen of the State

of Wisconsin.

       6.       Lisa Saffold is a Lieutenant with the Milwaukee Police Department. She resides

at 1737 S. Layton Boulevard, Milwaukee, WI 53215 and is a citizen of the State of Wisconsin.

       7.       Defendants Jonathan Mejias-Rivera (“Mejias-Rivera”) and Lisa Saffold

(“Saffold”) have discriminated against Plaintiff based on her sex and race, have unlawfully

harassed her and subjected her to a hostile work environment and have retaliated against her for

complaining about discriminatory treatment. The Defendants actions violated Title VII of the

Civil Rights Act and § 42 U.S.C. § 1981 and § 1983.

                              PROCEDURAL PREREQUISITES

       8.       Plaintiffs filed a charge of discrimination against the Milwaukee Police

Department with the EEOC on April 12, 2022. The charge alleged race and sex discrimination

and retaliation. The EEOC issued a right to sue notice on November 2, 2023.

                                   STATEMENT OF FACTS

       9.       Plaintiff is a current employee of the City of Milwaukee’s Police Department with

the rank of Detective. Her employment began in June of 2014. In January 2022, Holloway was

assigned to the Sensitive Crimes Division.

       10.      Defendants Mejias-Rivera and Saffold are current employees of the City of

Milwaukee’s Police Department.




                                                 2
       11.     On January 26, 2022, Sergeant Mejias-Rivera and Plaintiff were assigned to the

“night” or “late” shift, which generally ran from 11:00 pm to 7:00 am.

       12.     Mejias-Rivera was new to the Sensitive Crimes Division in January 2022. He had

just been stationed there.

       13.     During the January 26th night shift, Mejias-Rivera spoke with two members of the

Division regarding vacation picks. Plaintiff was working at her desk with headphones when

someone got her attention. She removed the headphones, contributed to the vacation

conversation and then put her headphones back in her ears.

       14.     Mejias-Rivera immediately commented to Plaintiff that she was too “bitter” to

only have eight years on the job. Holloway denied being bitter. Mejias- Rivera persisted. He

stated that if he perceived Holloway to be bitter, she would be transferred out of the department.

       15.     Plaintiff did not appreciate these comments and did not like being stereotyped.

Holloway explained to Mejias-Rivera that he appeared to be attaching an angry black woman

stereotype to her and that black women have been battling that perception for years. Nonetheless,

Mejias-Rivera again stated if he perceived her as bitter, she would be transferred.

       16.     Mejias-Rivera then stated, “You are an angry Black woman.” Mejias-Rivera

continued to tell Holloway she was bitter. Holloway perceived this as a threat. Mejias-Rivera

later sent a text saying he was being sarcastic.

       17.     Following Mejias-Rivera’s “angry black woman” statement in subsequent shifts,

Mejias-Rivera enforced arbitrary rules against Plaintiff and subjected her to criticism in front of

her peers. This included accusing Plaintiff during roll call of being passive-aggressive,

disrespectful and not following directives as it relates to leaving the building without informing

Defendant Mejias-Rivera.




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       18.     On January 31, 2022, Plaintiff complained to Captain Lucretia Turner that

Mejias-Rivera was creating a hostile work environment for her.

       19.     On February 1, 2022, Plaintiff filed a complaint memorandum with the

Milwaukee Fire and Police Commission via the City of Milwaukee’s Department of Employee

Relations detailing the discrimination she endured based on her race and sex by her direct

supervisor, Sergeant Mejias-Rivera.

       20.     Defendant Saffold was assigned to investigate the allegations against Mejias-

Rivera. Defendant conducted a discriminatory and retaliatory investigation designed to justify

Mejias-Rivera’s conduct. Defendant Saffold never interviewed Plaintiff as part of the

investigation and made excuses as to why she failed to do so. Ultimately the Fire and Police

Commission determined that Saffold’s investigation was biased.

       21.     Plaintiff also filed a formal complaint to the City of Milwaukee’s Fire and Police

Commission (“FPC”) on February 1, 2022.

       22.     For filing her complaint, Plaintiff was retaliated against by being transferred to

the Criminal Investigation Bureau (“CIB”) from her former assignment at Sensitive Crimes

Division (“SCD”); it is common knowledge among the police department that this is a less

desirable position and assignment.

       23.     An anonymous complaint was also filed against Defendant Mejias-Rivera with

the Milwaukee Police Department’s internal affairs division. The investigation was suspended

per SOP 450.70(A)(3), which states that when a complaint is filed with both the FPC and the

department, a determination will be made “whether the department or FPC will conduct an

independent or joint investigation.”




                                                 4
          24.   FPC proceeded with their independent investigation and lead investigator, Diana

Perez for the FPC, concluded after interviewing 13 members of the department that formal

charges be brought against three supervisory members (Mejias-Rivera, Saffold, and Turner)

regarding their supervision and treatment of Plaintiff.

          25.   In accordance with SOP 540.70(1)(4), FPC Executive Director, Leon W. Todd,

determined the complaint should be resolved with a Citizen Complaint trial, pursuant to FPC

Rule XV Section 4. This was communicated to Plaintiff on June 7, 2022.

          26.   The first phase of the trial in front of FPC Commissioners occurred on November

16-17, 2022. Plaintiff was present and actively participated in the trial. As a result of the trial,

charges of unlawful employment discrimination were sustained against Saffold and Mejias-

Rivera.

          27.   Phase two of the trial begun December 21, 2022.Following the disciplinary trial,

the FPC found that both Defendants Mejias-Rivera and Saffold violated the Department’s Equal

Opportunity Policy in their treatment of Plaintiff.

                                            COUNT I
                    (Violation of Title VII – Against the City of Milwaukee)

          28.   Plaintiff repeats the foregoing paragraphs as if fully restated herein.

          29.   Plaintiff is an African American female and a member of a protected class.

          30.   The Police Department’s unlawful discrimination and retaliatory conduct was

based on her race and sex and her complaints about hostile work environment.

          31.   Similarly situated Caucasian males were treated more favorably.

          32.   As a result of the Police Department’s actions, Plaintiff has suffered emotional

and physical distress. She had to take significant time off work to deal with the anxiety, mental

anguish, inconvenience, loss of enjoyment of life, a shift in her duties and assignments which



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could be construed as a demotion not in pay, but in status within the Department and shame the

Defendants have put her through. She is worried she will not be able to move past the rank of

Detective and fears that her reputation has been questioned by not only her supervisors, but

current and future peers.

                                          COUNT II
                              (42 U.S.C. § 1981 – All Defendants)

       33.     Plaintiff repeats the foregoing paragraphs as if fully restated herein.

       34.     Plaintiff is an African American female and is a member of a protected class.

       35.     Plaintiff was similarly situated to individuals not of the protected class such as

male Caucasian coworkers.

       36.     Defendants Mejias-Rivera and Saffold treated Plaintiff differently than other

similarly situated male employees without a legitimate governmental purpose of doing so.

       37.     As a result of the Police Department’s actions, Plaintiff has suffered emotional

and physical distress. She had to take significant time off work to deal with the anxiety, mental

anguish, inconvenience, loss of enjoyment of life, a shift in her duties and assignments which

could be construed as a demotion not in pay, but in status within the Department and shame the

Defendants have put her through. She is worried she will not be able to move past the rank of

Detective and fears that her reputation has been questioned by not only her supervisors, but

current and future peers.

                                        COUNT III
                   (42 U.S.C. § 1983 – Against Mejias-Rivera and Saffold)

       38.     Plaintiff repeats the foregoing paragraphs as if fully restated herein.

       39.     Plaintiff is an African American female and is a member of a protected class.




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        40.     Plaintiff was similarly situated to individuals not of the protected class such as

male Caucasian coworkers.

        41.     Defendants Mejias-Rivera and Saffold treated Plaintiff differently than other

similarly situated male employees without a legitimate governmental purpose of doing so.

        42.     Defendants Mejias-Rivera and Saffold were personally involved in the

constitutional violations of Plaintiff.

        43.     Defendants Mejias-Rivera and Saffold actions with respect to Plaintiff were

motivated by a discriminatory and retaliatory purpose, in violation of Plaintiff’s constitutional

rights to equal protection under the law.

        44.     Defendants Mejias-Rivera and Saffold acted with discriminatory intent.

        45.     As a direct and proximate result of this equal protection violation, Plaintiff

suffered damages, including those set forth in paragraph 35.

WHEREFORE, the Plaintiff demands judgment as follows:

    A. Plaintiff seeks an order directing Defendants not to further retaliate against Plaintiff.

    B. Plaintiff requests compensatory and punitive damages.

    C. Reinstatement of paid time off days which had to be used to address the deal with the

        emotional and physical distress these situations have caused her. She had to take

        significant time off work to deal with the anxiety, mental anguish, inconvenience, loss of

        enjoyment of life, a shift in her duties and assignments which could be construed as a

        demotion not in pay, but in status within the Department and shame the Defendants have

        put her through.




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   D. Plaintiff seeks an order directing Defendants to refrain from harassing comments to

       Plaintiff and to create a safe, working environment for not just Plaintiff, but all members

       of the department.

   E. That attorney’s fees and costs be awarded to Plaintiff.

   F. For such other and further relief as may be just and equitable.

                                         JURY DEMAND
Plaintiff demands a trial by jury of all claims herein.

Dated: April 24, 2024.

                                                          HANSEN REYNOLDS, LLC

                                                          By: /s/ Michael C. Lueder
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                                                  8
